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                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA




     E.G., a Minor by and through his     CV 5:20-820 DSF (SHKx)
     Mother and Guardian ad Litem
     Jami Dowser; and Jami Dowser,        ORDER RE UNOPPOSED
     an individual,                       PETITION TO APPROVE
           Plaintiffs,                    COMPROMISE OF MINOR’S
                                          CLAIMS
                     v.

     Brighton at Terra Vista
     Homeowners Association;
     FirstService Residential, Inc. and
     Does 1-10 inclusive,
           Defendants.



      The Court having considered the unopposed Petition to Approve
    Compromise of Minor’s Claims, the Court finds:

       1. The proposed settlement is fair and reasonable and is in the best
          interest of minor plaintiff E.G.,

       2. As Plaintiff Jamie Dowser receives nothing as a result of the suit,
          there is no conflict of interest in her acting as guardian ad litem
          for the purpose of this litigation,

       3. Because the agreed attorney’s fee is fair and reasonable
          considering the relevant factors, the Court need not and does not
          make a finding as to the reasonable hourly rate,

       4. The Petition to Approve Compromise of Minor’s Claim is
          approved, and
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       5. The $12,500 settlement payment for E. G. shall be disbursed
          without bond or creation of a trust to his mother and guardian
          Petitioner Jami Dowser, who is ordered to use the funds only for
          the care and benefit of E.G.



       IT IS SO ORDERED.



     Date: October 27, 2020                ___________________________
                                           Dale S. Fischer
                                           United States District Judge




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